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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

JAQUON A. HARRISON,

       Plaintiff(s),

v.                                                Case No: 5:18-cv-95-JSM-PRL

CITY OF OCALA, FLORIDA, et al.,

      Defendant(s).
___________________________________/

           CASE MANAGEMENT AND SCHEDULING ORDER

        This cause came on for consideration concerning completion of discovery and the
scheduling of pretrial procedures and trial. The Court has considered the positions of the
parties as set forth in their Case Management Report, and hereby enters the following
scheduling and case management requirements whose provisions are very precise and shall
be strictly adhered to. Accordingly, it is ORDERED:

       1.     The parties are directed to meet the agreed upon terms and time limits set forth
in their Case Management Report, as noted below (including any exceptions deemed
appropriate by the Court):

       Third-Party Joinder Cut-Off:               September 12, 2018
       Plaintiff(s) Expert Disclosure:            November 2, 2018
       Defendant(s) Expert Disclosure:            December 4, 2018
       Discovery Deadline:                        February 4, 2019
       Dispositive Motion Deadline:               March 4, 2019
       Daubert Motion Deadline:                   March 4, 2019

       2.     Parties shall take heed that motions to amend any pleading or a motion for
continuance of any pretrial conference, hearing or trial filed after issuance of this Case
Management and Scheduling Order are disfavored. See Local Rules 3.05(c)(2)(E) and
3.05(c)(3)(D). If evidence arises during fact discovery that would support a motion to amend
a pleading, the moving party shall file a motion to amend within fourteen (14) days of



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learning of the evidence. Motions to amend after that fourteen (14) day window will be
governed by a good cause standard. See Fed. R. Civ. P. 16(b)(4).

        3.    A Pre-Trial Conference will be held telephonically before the Honorable
James S. Moody, Jr., on TUESDAY, DECEMBER 3, 2019 AT 9:45 A.M. (Pre-
trial conferences generally last fifteen minutes.) Parties shall coordinate a telephone
conference and call Chambers at (813) 301-5680.

       4.    The parties shall comply with Local Rule 3.06 with respect to their joint Pre-
Trial Statement, which is due no later than seven (7) days before the date of the Pre-Trial
Conference.

        5.     The Pre-Trial Conference shall be attended by counsel who will act as lead
trial counsel in the case and who is vested with full authority to make and solicit disclosure
and agreements touching all matters pertaining to the trial.

      6.      This case is set for JURY TRIAL in Courtroom TBD of the United States
Courthouse, 207 N.W. Second Street Ocala, Florida, during the JANUARY 2020, trial
term before the Honorable James S. Moody, Jr. (Trial terms run a calendar month.)

       7.    Any motions in limine shall be filed with the Clerk of Court no later than three
(3) weeks before the date of the Pre-Trial Conference. The parties are limited to filing only
one (1) motion in limine that includes each ground for the exclusion of evidence.

        8.     NO LATER than two (2) business days prior to the first day of trial, counsel
shall electronically file proposed voir dire, jury instructions, and verdict forms, serve copies
on opposing counsel, and provide the courtroom deputy with a copy for use by the Judge.
Counsel shall e-mail proposed jury instructions and verdict forms in either Word or Word
Perfect format to: chambers_flmd_moody@flmd.uscourts.gov.

              (a)     Trial Brief: The Court does not require Trial Briefs or Proposed
                      Findings of Fact and Conclusions of Law.

              (b)     If case is a JURY trial, the following shall be provided no later than
                      two (2) business days prior to the date on which trial is set to
                      commence:

                      (1)    A concise (one paragraph preferably) joint or stipulated
                             statement of the nature of the action to be used in providing a
                             basic explanation of the case to the jury venire;

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                         (2)     Proposed Voir Dire (the Court will conduct the voir dire and, in
                                 addition to the usual more general questions, will without
                                 initiation by counsel ask more particular questions suggested by
                                 the nature of the case; counsel should, therefore, be selective in
                                 the jury questions submitted to the Court for consideration);

                         (3)     A complete set of all written Proposed Jury Instructions
                                 (which shall bear a cover sheet with the complete style of the
                                 case and appropriate heading designating the submitting party;
                                 there shall be no more than one instruction per page and contain,
                                 at the end of each such instruction, citation of authorities, if
                                 any); they shall be sequentially numbered and party-identified
                                 (e.g., Plaintiff's Requested Instruction No. 1); and

                         (4)     Proposed Verdict Form

                (c)      If case is a NON-JURY trial, Proposed Findings of Fact and
                         Conclusions of Law are required only if the Judge requests them. If
                         they are requested, each shall be separately stated in numbered
                         paragraphs; Findings of Fact shall contain a detailed listing of the
                         relevant material facts the party intends to prove, in a simple, narrative
                         form; Conclusions of Law shall contain a full exposition of the legal
                         theories relied upon by counsel. At the end of trial, Counsel shall e-
                         mail the parties' Proposed Findings of Fact and Conclusions of Law in
                         Word or WordPerfect format to Chambers at:
                         chambers_flmd_moody@flmd.uscourts.gov.

        DONE and ORDERED in Tampa, Florida on May 16, 2018.




Copies furnished to:
Counsel/Parties of Record
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